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                   IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY

 THE HOMESOURCE, CORP.              :
                                    :
       v.                           :     CIVIL ACTION NO. 18-11970
                                    :
 RETAILER WEB SERVICES, LLC,        :
 et al.                             :

                                  O R D E R


             AND NOW, this 17th day of May, 2022, in light of the

 on-going disputes regarding the log server “mirror image” and

 the technical nature of the disputes, it is hereby ORDERED that,

 unless there is an objection by May 27, 2022, the Special Master

 shall have the authority to appoint a neutral expert to assist

 in the resolution of these technical disputes, including setting

 reasonable compensation.



       IT IS SO ORDERED.



                                    /s/ Eduardo C. Robreno
                                    EDUARDO C. ROBRENO, J.
